WAYMO LLC,

                                                  3:17-cv-00939-WHA




UBER TECHNOLOGIES, INC.,
OTTOMOTTO LLC; OTTO TRUCKING LLC,




      Katharine R. Ciliberti
the Illinois Supreme Court
                                    Uber Technologies, Inc.
                                                  Debra Grassgreen




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         12/11/20                           /s/ Katharine R. Ciliberti




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        December 14, 2020
